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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


CARLO M. CROCE,                                        Case No. 2:17-cv-402

                       Plaintiff,                      Judge Graham
       v.
                                                       Magistrate Judge Deavers
NEW YORK TIMES COMPANY, et al.,

                       Defendants.

                                               Order

       The Court heard oral argument in this case on December 11, 2017. At the hearing, the
Court granted Plaintiff Carlo Croce leave to amend his Complaint to plead a claim for defama-
tion per quod. The Court directed Dr. Croce to file his amended complaint by January 15, 2018
and to serve upon the Court and opposing counsel a redline copy of the amended complaint. De-
fendants may file a motion to dismiss 30 days after Dr. Croce files his amended complaint. De-
fendants’ motion should only address the new or revised allegations of the amended complaint.
Dr. Croce may file a response to Defendants’ motion 30 days after the motion is filed. Defend-
ants may file a reply 5 days after Dr. Croce files his response.
       IT IS SO ORDERED.


                                                              s/ James L. Graham
                                                              JAMES L. GRAHAM
                                                              United States District Judge

DATE: December 20, 2017
